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No. 04-09-00698-CR



IN RE Josephus DUNCAN



Original Mandamus Proceeding (1)



PER CURIAM


Sitting:	Karen Angelini, Justice

		Rebecca Simmons, Justice

		Marialyn Barnard, Justice


Delivered and Filed:	November 11, 2009


PETITION FOR WRIT OF MANDAMUS DENIED

	Relator Josephus Duncan has filed a pro se petition for writ of mandamus, seeking to compel
the trial court to rule on his pro se "Motion in Limine - Enhancement Counts" and "Motion to Set
Aside Indictment." However, Duncan is represented by retained counsel in the criminal proceeding
pending in the trial court for which he is currently confined. A criminal defendant is not entitled to
hybrid representation. See Robinson v. State, 240 S.W.3d 919, 922 (Tex. Crim. App. 2007). A trial
court has no legal duty to rule on a pro se motion filed with regard to a criminal proceeding in which
the defendant is represented by counsel. Id. Consequently, the trial court did not abuse its discretion
by declining to rule on relator's pro se motions that relate directly to his confinement based on the
criminal proceeding pending in the trial court. Accordingly, relator's petition for writ of mandamus
is denied. Tex. R. App. P. 52.8(a).

							PER CURIAM


DO NOT PUBLISH
1.  This proceeding arises out of Cause No. 2009-CR-0316, styled The State of Texas v. Josephus Duncan,
pending in the 227th Judicial District Court, Bexar County, Texas, the Honorable Philip Kazen presiding.


